Case 0:04-cr-60001-MGC Document 797 Entered on FLSD Docket 01/22/2007 Page 1 of 9




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                           CASE NO. 04-60001-CR-COOKE/Brown


  UNITED STATES OF AMERICA

                              Plaintiff,

  vs.

  JOSE PADILLA,
       a/k/a “Ibrahim,”
       a/k/a “Abu Abdullah the Puerto Rican,”
       a/k/a “Abu Abdullah Al Mujahir,”

                          Defendant.
  ________________________________________/

      ORDER ADOPTING MAGISTRATE’S REPORT AND RECOMMENDATION
    AND DENYING DEFENDANT’S MOTION TO SUPPRESS PHYSICAL EVIDENCE
                  AND ISSUE WRITS AD TESTIFICANDUM

         THIS MATTER was referred to the Honorable Stephen T. Brown, United States

  Magistrate Judge, for a Report and Recommendation on Defendant Jose Padilla’s Motion to

  Suppress Physical Evidence and Issue Writs Ad Testificandum, filed May 31, 2006 [D.E. 365].

  On September 20, 2006, Judge Brown issued a Corrected Report and Recommendation1 in which

  he recommended that Padilla’s Motion to Suppress Physical Evidence and Issue Writs Ad

  Testificandum be denied [D.E. 568]. On September 29, 2006, Defendant Padilla filed his Appeal

  of Judge Brown’s Report and Recommendation. . The Court has conducted a de novo review of



         1
           The initial Report and Recommendation [D.E. 548] was superseded by a Corrected
  Report and Recommendation [D.E. 568] due to a computer error which caused footnote text to
  be omitted in the original.

                                                1
Case 0:04-cr-60001-MGC Document 797 Entered on FLSD Docket 01/22/2007 Page 2 of 9




  the issues that the objections to the Magistrate Judge's Report and Recommendation present, and

  being otherwise fully advised in the premises, and for the reasons more fully set forth below, the

  Report and Recomendation is Affirmed and Adopted.



         I.      FACTS AND PROCEDURAL HISTORY

         Defendant Jose Padilla initially filed his Motion to Suppress Physical Evidence and Issue

  Writs Ad Testificandum on September 20, 2006 [D.E. 365]. In the Motion, Padilla argues that

  the Federal Rules of Criminal Procedure, as well as the Fourth and Fifth Amendments to the

  United States Constitution require this Court to suppress any and all physical evidence seized

  from Padilla in Chicago on May 8, 2002. On that date, Padilla arrived at Chicago O’Hare

  International Airport aboard an international flight from Zurich, Switzerland. The facts

  surrounding Defendant’s arrest pursuant to a Material Witness Warrant are fully set forth in

  Judge Brown’s Report and Recommendation on Defendant’s Motion to Suppress Statements

  [D.E. 549]. This Court has adopted these findings of fact pursuant to its Order Adopting

  Magistrate’s Report and Recommendation, filed on November 17, 2006 [D.E. 664]. Thus, this

  Court incorporates these uncontroverted facts into this Order, and adopts Judge Brown’s factual

  findings by reference herein.

         The Material Witness Warrant utilized to arrest Padilla, was signed by Chief Judge

  Michael B. Mukasey of the United States District Court for the Southern District of New York.

  The Warrant was issued on an affidavit sworn to by Special Agent Joe Ennis of the Federal

  Bureau of Investigation (“the Affidavit”). The information in the Affidavit comes exclusively

  from Ennis’ participation in the investigation, conversations with law enforcement personnel,


                                                   2
Case 0:04-cr-60001-MGC Document 797 Entered on FLSD Docket 01/22/2007 Page 3 of 9




  and review of documents and reports prepared by other law enforcement officers.      These

  documents and conversations relayed information almost exclusively culled from the questioning

  of two government sources, Abu Zubaydah and Binyam Muhammad.2 In his Motion, Padilla

  contends that the physical evidence seized from him on May 8, 2002 should be suppressed,

  because the Affidavit allegedly failed to inform the issuing court of the following “facts,” which

  Defendant believes were “critical to the determination of probable cause:”3

         A.      That Abu Zubaydah was suffering from multiple gunshot wounds at the time he

                 provided the information included in the Affidavit;

         B.      What medical attention Abu Zubaydah had received or if medical attention, other

                 than drugs, was withheld while he was interrogated;

         C.      How the government came into possession of a passport that Mr. Padilla “lost;”

                 and


         2
             These two government sources were referred to in the Affidavit and subsequent
  pleadings as CS-1 and Subject-1, respectively. The identities of these sources remained
  classified at the time the Affidavit and subsequent pleadings were filed. It was not until the
  Government filed its Response to Padilla’s Objections to the Magistrate’s Report and
  Recommendation Denying the Motion to Suppress Evidence and Issue Writs Ad Testificandum
  that the identities of CS-1 and Subject-1 became declassified, and were divulged to be Abu
  Zubaydah and Binyam Muhammad. Due to this declassification, this Court will refer to these
  individuals by their natural names. When quoting directly from the Affidavit or Pleadings filed
  prior to the Government’s Response to Defendant’s Objections, this Court will insert brackets
  supplanting the individuals’ natural names for the confidential designations for the sake of
  readability and to avoid confusion.
         3
           Aside from the alleged falsehoods and misrepresentations recited in Defendant’s
  Motion, Defendant alleged additional falsehoods in his Reply and Objections to the Magistrate’s
  Report and Recommendation. As noted by Judge Brown in his Report and Recommendation, the
  additional claims were improperly raised since they were not included in Defendant’s initial
  motion. Likewise, and a fortiori, any additional claims first raised in Defendant’s Objections to
  the Report and Recommendation, not considered by Judge Brown whatsoever, are improperly
  raised and will not be considered by this Court.

                                                   3
Case 0:04-cr-60001-MGC Document 797 Entered on FLSD Docket 01/22/2007 Page 4 of 9




         D.      That Binyam Muhammad was subjected to torture between interrogation sessions

                 with the FBI.

         As a result of these alleged omissions and misrepresentations, Padilla moves this Court to

  suppress any and all physical evidence seized from him at Chicago O’Hare International Airport

  on May 8, 2002. Padilla also requests an evidentiary hearing on this matter as well as issuance of

  Writs Ad Testificandum to compel the testimony of Abu Zubaydah and Binyam Muhammad.

  Padilla believes granting this hearing request and issuing Writs Ad Testificandum for these two

  individuals would lend further support to his Motion to Suppress Physical Evidence. However,

  this Court must first determine whether granting the request for hearing and issuing Writs Ad

  Testificandum are warranted in this instance.



         II.     LEGAL STANDARD

         In Franks v. Delaware, 438 U.S. 154 (1978), the Court established that under specifically

  delineated circumstances, a criminal defendant was entitled to attack the veracity of a sworn

  statement used by police to procure a search warrant.4 The Court ruled that in order to be entitled

  to a hearing under Franks, Defendant must first make a “substantial preliminary showing” that the

  affiant “knowingly and intentionally” or with “reckless disregard for the truth,” included a false

  statement in the warrant affidavit. Id. at 155-56. Notably, even allegations of negligence or innocent



         4
            The Court’s holding in Franks was rooted in the language of the bulwark of Fourth
  Amendment protection—the Warrant Clause. The Warrant Clause provides that “no warrants
  shall issue, but upon probable cause, supported by Oath or affirmation . . . .” In its ruling the
  Court held that the Warrant Clause “surely takes the affiant’s good faith as its premise,” thus
  opening the door to Defendant attacks on the credibility of warrant affidavits. Franks, 438 U.S.
  at 164.

                                                    4
Case 0:04-cr-60001-MGC Document 797 Entered on FLSD Docket 01/22/2007 Page 5 of 9




  mistake are insufficient to support entitlement to a Franks hearing. See O’Ferrell v. United States,

  253 F.3d 1257, 1270-71 (11th Cir. 2001); United States v. Wuagneux, 683 F.2d 1343, 1355 (11th

  Cir. 1982). However, once the threshold culpability showing is made, “if the allegedly false

  statement is necessary to the finding of probable cause, the Fourth Amendment requires that a

  hearing be held at the defendant's request.” Franks, 438 U.S. at 155-56; United States v. Arbolaez,

  450 F.3d 1283, 1293 (11th Cir. 2006).

         In order to mandate a Franks hearing, the Defendant’s allegations must be “more than

  conclusory and must be supported by more than a mere desire to cross-examine.” Franks, 438 U.S.

  at 171. Allegations must accuse the affiant of providing a deliberate falsehood or recklessly

  disregarding the truth in the warrant affidavit. Id.; Arbolaez, 450 F.3d at 1294. Furthermore, these

  claims and allegations must be substantiated by an offer of proof, which specifically points out the

  portion of the warrant affidavit that is allegedly fallacious, and a statement of reasons indicating why

  this is so. Id. Additionally, Defendant must provide affidavits or other sworn or reliable statements

  that support the allegations.     If such affirmations are not provided, their absence must be

  satisfactorily explained. Id.

          Notably, and particularly instructive with regard to this motion, Franks challenges may only

  be directed at the affiant, and may not be used to impugn the veracity of any non-governmental

  informant. See Franks, 438 U.S. at 171 (“The deliberate falsity or reckless disregard whose

  impeachment is permitted today is only that of the affiant, not of any nongovernmental informant.”).

  This does not necessarily mean that all of the information recited by the affiant in the affidavit need

  be correct and fully accurate. Rather, the statements are sufficient if they were reasonably believed

  to be truthful information when included by the affiant in the warrant affidavit. Id. at 165. The


                                                     5
Case 0:04-cr-60001-MGC Document 797 Entered on FLSD Docket 01/22/2007 Page 6 of 9




  Court in Franks concluded that the word “truthful” in this context is not used “in the sense that every

  fact recited in the warrant affidavit is necessarily correct, for probable cause may be founded upon

  hearsay and upon information received from informants, as well as upon information within the

  affiant’s own knowledge which sometimes must be garnered hastily.” Id.

          Finally, if the Defendant is able to establish perjury or reckless disregard for the truth by a

  preponderance of the evidence, the affidavit’s false material must be excised and the remaining

  truthful content must be considered on its own. If, after this extraction, there still remains sufficient

  evidence to support a finding of probable cause, no Franks hearing is required. If, on the other hand,

  there is insufficient evidence to establish probable cause, the Fourth and Fourteenth Amendments

  entitle Defendant to a hearing. Id. at 171-2.



          III.    ANALYSIS

          Under the first prong of the Franks analysis, this Court must consider whether the Defendant

  has made a “substantial preliminary showing” that the alleged omissions and misstatements in the

  warrant affidavit were the product of the affiant’s “knowing and intentional” distortion of facts or

  affiant’s “reckless disregard for the truth.” Franks, at 155-56. If this preliminary hurdle is met, then

  this Court must consider whether the challenged statements or omissions were necessary to the

  finding of probable cause. However, in this instance, this Court need not even consider the second

  prong of the Franks analysis, since Defendant fails to meet Franks’ first requirement.

          Much of Defendant’s argument in support of a hearing is misguided. Defendant spends

  considerable time focusing on the detainment conditions and treatment of government sources Abu

  Zubaydah and Binyam Muhammad. However, Franks challenges are premised on attacking the


                                                     6
Case 0:04-cr-60001-MGC Document 797 Entered on FLSD Docket 01/22/2007 Page 7 of 9




  veracity of the governmental affiant’s statements. Thus, Defendant’s evidence, which deals with

  misstatements and omissions regarding the condition and treatment of the government sources is

  inconsequential to the Franks inquiry, unless Defendant can prove that the affiant knowingly and

  intentionally or recklessly disregarded truthful material that should have been included in the warrant

  affidavit. Defendant fails to make any showing at all to this effect. Specifically, and most fatal to

  Defendant’s Franks motion, Defendant fails to provide any proof whatsoever that Special Agent

  Ennis knew or should have known about any of the alleged omissions or misstatements in the

  affidavit.5

          Furthermore, Special Agent Ennis states in the affidavit that the information he provides with

  regard to Abu Zubaydah’s interview is “based on [his] review of the reports of [interviews of Abu

  Zubaydah by other agents] and on [his] conversations with other law enforcement officers.” Aff. ¶4.

  Likewise, he states that as to Binyam Muhammad he has “reviewed reports prepared based on [an

  interview of Binyam Muhammad conducted in or approximately early April 2002], and ha[s] spoken

  with other law enforcement officers regarding this interview.” Aff. ¶5. Defendant provides no

  evidence that these reviewed reports contained any information suggesting that the sources were

  tortured physically or mentally.      Furthermore, Defendant does not provide any supporting

  documentation to suggest that Special Agent Ennis’ affidavit does not comport with any other aspect

  of the reports he reviewed or the conversations he had with other law enforcement officers. There



          5
           As noted by the Government, the “knowledge” imputed to Special Agent Ennis is only
  that knowledge which he had or should have had on or about May 8, 2002—the date that he
  signed the Affidavit. The critical inquiry must focus on the knowledge that was justifiably
  garnered by Special Agent Ennis through reading the pertinent documents and conversing with
  law enforcement personnel with regard to this matter. Any facts which may have come to light
  subsequent to this date are irrelevant to the ultimate resolution of this issue.

                                                    7
Case 0:04-cr-60001-MGC Document 797 Entered on FLSD Docket 01/22/2007 Page 8 of 9




  is no averment in the affidavit that Special Agent Ennis had any personal knowledge of the

  circumstances alleged by Defendant as to the treatment of Zubaydah or Muhammad. Thus, the

  information garnered through the reports Ennis reviewed and the discussions he had with law

  enforcement officers, and any deviations from this information in the affidavit, should have been the

  focal point of Defendant’s Franks challenge.

         Additionally, Defendant’s requests for a hearing due to “the government’s monopoly on

  access to relevant information”and for issuance of Writs Ad Testificandum fall short for the same

  reason. Defendant attempts to circumvent Franks’ substantial preliminary showing requirement, and

  access the hearing in the most roundabout of fashions. However, the Court’s holding in Franks very

  clearly articulates that Defendant’s substantial preliminary showing is a condition precedent to the

  type of hearing that Defendant seeks in this case. Since Padilla has made no showing whatsoever

  that the affiant in this case, Special Agent Ennis, knew or should have known about the

  aforementioned alleged misstatements and omissions, Defendant falls far short of Franks’ substantial

  preliminary showing requirement. Likewise, Defendant fails to make an adequate showing to

  support his request for Issuance of Writs Ad Testificandum.

         The validity of Defendant’s claims pertaining to the treatment, as well as the physical and

  mental states of these governmental sources is not a question appropriately before this Court at this

  juncture. The Defendant fails to articulate how questioning these detained governmental sources

  would help him ascertain the quintessential inquiry that must be the cornerstone of any Franks

  challenge. Namely, what was in the purview of Special Agent Ennis’ knowledge when he compiled

  and signed the Affidavit in support of the Material Witness Warrant ultimately utilized to arrest

  Padilla.


                                                   8
Case 0:04-cr-60001-MGC Document 797 Entered on FLSD Docket 01/22/2007 Page 9 of 9




  For the reasons set forth above, it is hereby

         ORDERED and ADJUDGED that United States Magistrate Judge Stephen T. Brown 's

  Report and Recommendation is AFFIRMED and ADOPTED. Accordingly, it is

         ADJUDGED that Defendant Jose Padilla's Motion to Suppress Physical Evidence and Issue

  Writs Ad Testificandum [D.E. 365] is DENIED.

         DONE and ORDERED in Chambers at Miami, Florida, this 22nd day of January, 2007.




  Copies provided to:



  Magistrate Judge Stephen T. Brown

  Counsel of Record




                                                  9
